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   ROWLAND MARCUS ANDRADE
14

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16                                UNITED STATES DISTRICT COURT

17                               NORTHERN DISTRICT OF CALIFORNIA

18                                     SAN FRANCISCO DIVISION

19 UNITED STATES OF AMERICA,                         Case No. 3:20-cr-00249-RS
20
                    Plaintiff,                       DEFENDANT ANDRADE’S
21                                                   SUPPLEMENTAL WITNESS LIST
            v.
22                                                   Trial: Feb. 10, 2025 | 9:00 a.m.
     ROWLAND MARCUS ANDRADE,                         Court: Courtroom 3 | 17th Floor
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                                                     Judge: Hon. Richard Seeborg
                    Defendant.
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     Defendant Andrade’s Supplemental Witness List                      Case Number: 3:20-cr-00249-RS
 1          Defendant Andrade hereby supplements his list of witnesses that may be called to testify
 2 during his case-in-chief during the trial of the above-captioned matter. Mr. Andrade continues to

 3 reserve the right to call any witness listed on the government’s initial and amended witness lists.

 4 Mr. Andrade further respectfully reserves the right to amend this list and disclose additional

 5 witnesses in a manner consistent with the Federal Rules of Criminal Procedure. In addition to

 6 the witnesses previously noticed on January 22, 2025, Mr. Andrade may call the additional

 7 witnesses listed below.

 8
            ID #       Name                                Purpose
 9
            74         Winczura, Darren                    Impeachment
10                     Davis, Steve                        Foundation & Authenticity
            75
11          76         Batista, Santiago                   Impeachment
            77         Tovey, Kendl                        Impeachment
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                                                         Respectfully submitted,
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18 DATED: February 4, 2025                               KING & SPALDING LLP

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                                                     By: /s/ Michael J. Shepard
20                                                       MICHAEL J. SHEPARD
                                                         KERRIE C. DENT
21                                                       CINDY A. DIAMOND

22                                                        Attorneys for Defendant
                                                          ROWLAND MARCUS ANDRADE
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     Defendant Andrade’s Supplemental Witness List                       Case Number: 3:20-cr-00249-RS
